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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DENISE CRUMWELL, on behalf of herself
and all other persons similarly situated,

                           Plaintiff,                       ORDER OF DISMISSAL

             - against -                                       21 Civ. 7563 (PGG)

ZOE CHICCO, INC.,

                           Defendant.



PAUL G. GARDEPHE, U.S.D.J.:

               The Court having been advised that all claims asserted herein have been settled, it

is ORDERED that the above-entitled action be, and hereby is, dismissed with prejudice but

without costs; provided, however, that if the settlement is not consummated within forty-five

days of this order, either party may apply by letter within the forty-five-day period for restoration

of the action to the calendar of the undersigned, in which event the action will be restored. The

Clerk of Court is directed to close the case. Any pending dates and deadlines are adjourned sine

die, and any pending motions are moot.

Dated: New York, New York
       November 3, 2021
